                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   at CHATTANOOGA

UNITED STATES OF AMERICA                             )
     Plaintiff                                       )
                                                     )       NO. 1:08-CR-124
v.                                                   )       Collier/Carter
                                                     )
JOSH HARRIS                                          )
      Defendant                                      )



                                           ORDER

       On March 16, 2009, Magistrate Judge William B. Mitchell Carter filed a Report and

Recommendation recommending (a) the Court accept Defendant Josh Harris’s plea of guilty to

Count Nine of the Indictment, (b) the Court adjudicate Defendant guilty of the charges set forth in

Count Nine of the Indictment; and (c) Defendant shall remain in custody pending sentencing in this

matter (Doc. 46). Neither party filed an objection within the given ten days. After reviewing the

record, the Court agrees with the magistrate judge’s report and recommendation. Accordingly, the

Court ACCEPTS and ADOPTS the magistrate judge’s report and recommendation (Doc. 46)

pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

       (1) Defendant’s plea of guilty to Count Nine of the Indictment is ACCEPTED;

       (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count Nine of the

Indictment; and

       (3) Defendant SHALL REMAIN in custody pending sentencing on Thursday, June 18,

2009 at 2:00 pm.

       SO ORDERED.

       ENTER:




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                                   /s/
                                   CURTIS L. COLLIER
                                   CHIEF UNITED STATES DISTRICT JUDGE




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